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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

THE COLONIAL BANCGROUP, INC. and
KEVIN O’HALLORAN, as plan trustee

       Plaintiffs,

v.                                           Case No. 2:11-cv-00746-BJR

PRICEWATERHOUSECOOPERS LLP,                      (FILED UNDER SEAL)
and CROWE HORWATH LLP,

Defendants.

FEDERAL DEPOSIT INSURANCE
CORPORATION AS RECEIVER FOR
COLONIAL BANK,

       Plaintiff,
                                             Case No. 2:12-cv-00957-BJR
v.

PRICEWATERHOUSECOOPERS LLP
and CROWE HORWATH LLP,

       Defendants.




      REPLY BRIEF OF THE COLONIAL BANCGROUP, INC. AND KEVIN
 O’HALLORAN, AS PLAN TRUSTEE, IN FURTHER SUPPORT OF THEIR MOTION
TO EXCLUDE CERTAIN OPINIONS AND TESTIMONY OF THE FDIC-R’S EXPERTS
             JONATHAN WALKER AND KENNETH J. MALEK



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         Plaintiffs The Colonial BancGroup, Inc. (”BancGroup”) and Kevin O’Halloran, as Plan

Trustee acting for and on behalf of BancGroup (collectively, “Plaintiffs”), hereby submit their

Reply Brief in further support of their Motion to Exclude Certain Opinions and Testimony of the

FDIC-R’s Experts Jonathan Walker (“Walker”) and Kenneth J. Malek (“Malek”) [Doc. 529](the

“Motion”). For the reasons discussed below and in Plaintiffs’ opening brief, the Motion should

be granted.

                                      PRELIMINARY STATEMENT

         The FDIC-R has failed to show in response to the Motion that Walker’s and Malek’s

opinions and testimony regarding the source of strength doctrine meets the test for admissibility

under Federal Rule of Evidence 702 (“Rule 702”). The FDIC-R does not dispute in its response

that neither Walker nor Malek are regulatory experts or corporate governance experts. Further,

the FDIC-R does not dispute that neither Walker nor Malek performed any independent work or

employed any expert methodology in reaching their opinions. Their testimony and opinions are

not supported with facts or data as required by Rule 702.                      Indeed, Walker’s and Malek’s

“agreement” with Professor James opinion that BancGroup would have been required to

downstream funds to Colonial Bank even if the fraud had been revealed in early 2008 is nothing

more than commentary on another expert’s opinion on a matter as to which neither Walker nor

Malek are themselves experts.1 This is impermissible and highly prejudicial to BancGroup.

Thus, Walker’s and Malek’s opinions and testimony on the source of strength doctrine should be

excluded under Rule 702.



1
  The FDIC-R’s assertion that Walker’s and Malek’s unsubstantiated agreement with Prof. James’ opinions is not an
attack on BancGroup’s damages expert is meritless. Prof. James was hired by Crowe to rebut BancGroup’s
damages analysis and it is in that context that he rendered his opinions on the source of strength doctrine that Walker
and Malek now adopt despite their fervent disagreement with Prof. James on virtually all other aspects of his report.
Like the FDIC-R’s “ownership claim” against BancGroup, Walker’s and Malek’s rebuttal opinions represent an
opportunistic, unsupported collateral attack on BancGroup’s case and damages analysis.

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       The FDIC-R’s only real response to BancGroup’s Motion is that because the

objectionable commentary on the source of strength doctrine is being offered in rebuttal to

criticisms leveled at Mr. Malek’s initial expert report by one of the Defendants’ experts, the

commentary somehow becomes admissible per se.             This, of course, is not the law.      The

admissibility of expert testimony under Rule 702 does not distinguish between expert opinions

given by way of an initial expert report and those provided by way of rebuttal. The rebuttal

testimony must still meet the admissibility standards of Rule 702. Moreover, even put in

context, it is clear that the probative value of Walker’s and Malek’s opinions and testimony on

the source of strength doctrine is marginal at best and is substantially outweighed by the danger

of confusing the issues, misleading the jury, undue delay, wasting time and presenting

cumulative evidence. Thus, Walker’s and Malek’s testimony must be excluded under Federal

Rule of Evidence 403 (“Rule 403”).

                                          ARGUMENT

I. Neither Walker’s nor Malek’s Opinions on the Source of Strength Doctrine Meet the
   Test for Admissibility Under Rule 702.

       In its response brief, The FDIC-R concedes that the test for admissibility of expert

testimony under Rule 702 requires a “rigorous three-part inquiry” involving, among other things,

(i) whether the expert is qualified to testify competently and reliably regarding the subjects

addressed; (ii) whether the expert’s methodology is reliable; (iii) whether the expert’s specialized

expertise assists the trier of fact in understanding the evidence or determining a fact in issue.

(FDIC-R Response at p.3 (quoting United States v. Frazier, 387 F.3d 1244, 1260 (11th Cir.

2004))). The FDIC-R further agrees, as it must, that Rule 702 requires an expert testimony to be

“‘based on sufficient facts and data’” and the “‘product of reliable principles and methods that




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are reliably applied to the facts of the case.’” (FDIC-R Response at p. 4 (quoting Fed. R. Evid.

702(b) and advisory committee note (2000 amends))).

       The FDIC-R makes no showing in its response that Walker’s and Malek’s opinions

regarding the source of strength doctrine meet the foregoing tests. To the contrary, it is obvious

from the FDIC-R’s response that neither Walker or Malek are qualified to testify (or have

performed any independent work that would permit them to testify) on whether BancGroup

could have been compelled by the source of strength doctrine to downstream funds to Colonial

Bank if the fraud had been discovered in early 2008 or the related issue of whether such

downstreaming would have been in BancGroup’s best interests at that time due to the magnitude

of the fraud and Colonial Banks’ true financial condition.

           A. Lack of Qualifications

       First, as to qualifications, the FDIC-R effectively concedes that neither Walker nor Malek

is an expert in bank regulatory affairs or the corporate governance of a bank holding company.

The FDIC-R argues that Walker and Malek should be permitted to testify on the source of

strength doctrine simply because they are experienced in calculating damages.          (FDIC-R’s

Response at pp. 8-9).    BancGroup does not dispute that both experts’ attended very good

colleges and have experience in a variety of economic matters, but that is beside the point.

BancGroup is not seeking to preclude Walker and Malek from testifying altogether. BancGroup

is only seeking to preclude Walker and Malek from testifying on the narrow, highly specialized

topic of whether regulators could have used the source of strength doctrine to compel BancGroup

to downstream funds even if the bank was exposed as critically undercapitalized and Colonial

Bank was failing as a result of the discovery of the fraud—a subject on which they have virtually

no knowledge or experience to speak of. Indeed, Walker doesn’t even know where the source of

strength doctrine is codified and has never done any research or consulting on the doctrine. Mr.
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Malek’s background as a damages consultant is also conspicuously devoid of any relevant

experience on the source of strength doctrine. (See Motion at pp. 6-9). 2

         It is not enough to say, as the FDIC-R suggests, that merely knowing about the source of

strength doctrine somehow qualifies Walker and/or Malek to render an opinion on whether a

regulator would have or could have compelled BancGroup and its directors to downstream funds

to Colonial Bank if it were revealed that the bank was crippled bank and critically

undercapitalized due to the massive TBW fraud.                That type of specialized opinion is not

supported by Walker’s or Malek’s background as such an opinion requires unique regulatory

and/or corporate governance experience that Walker and Malek simply do not possess.

            B. Lack of Reliable Methodology

        The second prong of the test for admissibility of expert testimony under Rule 702

requires that the expert’s opinion must be the product of reliable principles and methods. See

supra at p. 2. Here again, the FDIC-R’s response fails to include any discussion of Walker’s

and/or Malek’s methodology in rendering their opinion on the source of strength doctrine. This

is because they have none. Neither Walker nor Malek performed any independent work or

reached any independent conclusions on the source of strength doctrine because they do not have

the qualifications or experience to do so. As explained in Plaintiffs’ opening brief, Walker and

Malek simply “agree” with Crowe’s expert, Prof. James, and either paraphrase or quote verbatim




2
  In contrast, BancGroup has retained a qualified regulatory expert, David Gibbons, whose report and testimony
have not been challenged by the Defendants or by the FDIC-R. Curiously, the FDIC-R has also retained a
regulatory expert, Robert Hawkins, who has over 25 years’ experience working for the Federal Reserve Bank. Mr.
Hawkins’ expert report contains no opinion on whether a reasonable regulator would have or could forced
BancGroup to downstream funds if the fraud had been discovered in early 2008. Mr. Hawkins’ silence on the
source on this issue speaks volumes as to the reliability of Walker’s and Malek’s opinions on the subject.


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from that part of Prof. James’ report stating that BancGroup would have been compelled to

downstream funds to Colonial Bank under the source of strength doctrine.3

          Even if, for argument’s sake, one considers Walker and Malek’s agreement with Prof.

James to be a “methodology,” it is unreliable because, as discussed above, neither Mr. Walker

nor Mr. Malek are regulatory or corporate governance experts and have no independent basis

upon which to evaluate Prof. James’ opinions. Again, just knowing that the source of strength

doctrine exists does not qualify Walker and Malk to testify as to what a reasonable regulator

could have or would have done and/or whether BancGroup’s directors could have been

compelled to downstream funds if the fraud had been discovered in early 2008. As such,

Walker’s and Malek’s agreement with Prof. James opinion is nothing more than unsupported

commentary on another expert’s opinion as to a subject on which neither Walker nor Malek are

experts.4 Walker’s and Malek’s adoption of Prof. James’ opinion without any independent work

or analysis is not a valid methodology that meets the requirement s of Rule 702. Therefore,

Walker’s and Malek’s opinions adopting Prof. James’ opinions should be excluded.

             C. Lack of Sufficient Facts and Data

          Finally, Rule 702 requires that the expert’s testimony be based on sufficient facts and

data. Only then will the expert’s specialized knowledge assist the trier of fact in understanding

the evidence or deciding a fact in issue. “[T]he word ‘knowledge’ connotes more than subjective

belief or unsupported speculation.” Daubert v. Merell Dow Pharms., Inc., 509 U.S. 579, 590

(1993).

3
 Walker Rebuttal Report, attached as Exh. 1 to Motion, at pp. 3-5, ¶¶ 3, 10; Malek Rebuttal Report, attached as
Exh, 2 to Motion, at p.16 and note 61.
4
  Moreover, as explained in Plaintiffs’ Motion and in BancGroup’s Motion to Exclude Certain Expert Opinions
Christopher M. James [Doc. 526], Prof. James’ own opinions regarding the source of strength doctrine are
impermissibly speculative and contrary to existing law interpreting the doctrine. To the extent that Prof. James’
opinions and testimony on the source of strength doctrine is excluded by the Court, Walker’s and Malek’s testimony
“agreeing” with Prof. James should be excluded as well.

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        The FDIC-R has made no showing in its response to the Motion that Walker’s or Malek’s

opinions on the source of strength doctrine are based on sufficient facts or data because neither

expert performed any independent work in reaching their conclusions. Both admitted at their

depositions that they did nothing to determine what impact discovery of the fraud would have on

Colonial Bank’s financial condition or regulatory capital ratios if the fraud had been disclosed in

early 2008 or whether the bank had sufficient financial resources to prepare and submit an

acceptable capital restoration plan to the regulators. Without this information and data, Walker

and Malek are in no position to opine on what a regulator would have or could have done if the

fraud had been revealed in early 2008. This would be true even if Walker and Malek had the

requisite experience to testify as a regulatory expert, which they do not.

        As stated by the Eleventh Circuit, “nothing in either Daubert or the Fedseral Rules of

Evidence requires a District Court to admit opinion evidence which is connected to existing data

only by the ipse dixit of the expert …. Thus, a trial court may exclude expert testimony that is

imprecise and unspecific, or whose factual basis is not adequately explained.” Cook ex rel.

Estate of Tessier v. Sheriff of Monroe County, Fla., 402 F.3d 1092, 1111 (11th Cir. 2005).

Neither Walker or Malek have determined whether Colonial Bank could have prepared or

submitted an acceptable capital restoration plan if the fraud had been discovered in early 2008,

the amount of funding that would be necessary to restore the bank to an adequately capitalized

position or whether BancGroup could of raised a sufficient amount of money to do so. 5 Their

testimony on the source of strength doctrine is “imprecise and unspecific’ and lacks “adequate

factual basis.” It is likely to mislead the jurors rather than help them and is highly prejudicial to

BancGroup. Thus, it should be excluded.

5
  Walker Deposition, excerpts attached as Exh. 3 to Plaintiff’s Motion, at pp. 131:20-132:23; Malek Deposition,
excerpts of which are attached as Exh. 4 to Plaintiff’s Motion, at pp. 294:5-296:11.


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II. The “Context” In Which Walker’s and Malek’s Objectionable Rebuttal Opinions On
    the Source of Strength Rule are Made Does Not Make Them Per Se Admissible Under
    Rule 702 and, Even In “Context,” the Rebuttal Opinions Are Irrelevant and
    Inadmissible Under Rule 403.

          The majority of the FDIC-R’s responsive brief is spent attempting to put the

objectionable passages of Walker’s and Malek’s rebuttal testimony “into context” with the

criticisms leveled at Malek’s initial expert report by PwC’s expert, Professor Lehn. While the

context in which the objectionable rebuttal testimony is provided may explain why the FDIC-R

believes the testimony is relevant, the context is otherwise meaningless to the rebuttal

testimony’s admissibility under Rule 702. The expert must still be qualified to testify on the

subject of the rebuttal testimony and the opinions must meet the requisite thresholds of

reliability. There is no per se admissibility exception for rebuttal testimony under Rule 702.

          Even if context is considered, the true relevance of the objectionable rebuttal opinions is

difficult if not impossible to discern and, therefore, the rebuttal opinions should be excluded

under Rule 403.

          Prof. Lehn’s opinion on the downstreaming of funds from BancGroup to Colonial Bank

is set forth in one paragraph of his report where he states that $456 million in downstreamed

funds (net of dividends) represents a benefit to Colonial Bank that reduces Colonial Bank’s total

alleged damages.6 Mr. Lehn’s opinion is purely computational and is only dependant on the fact

that funds were downstreamed from BancGroup to Colonial Bank. Contrary to the assertion

made by the FDIC-R to justify Walker’s and Malek’s objectionable rebuttal opinions, Mr. Lehn

does not opine in his report “that the finding of the fraud would have resulted in zero




6
    Expert Report of Kenneth M. Lehn (FDIC), August 29, 2016, ¶18, p. 12, excerpts attached hereto as Exh. “A.”


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contributions (i.e. downstreaming the funds) from CBG to Colonial [Bank]” as the FDIC-R

states in its response. 7 (FDIC-R’s Response at p. 5; see also id. at 9).

              For purposes of this Motion, BancGroup takes no position on whether the downstreamed

funds should be considered a benefit to Colonial Bank that reduces the FDIC-R’s alleged

damages as Mr. Lehn opines. That is an issue for the Court or the jury to determine. It is

difficult to understand, however, why Walker and Malek’s speculative musings on whether

BancGroup could have been pressured or required by regulators to downstream funds to Colonial

Bank under the source of strength doctrine is relevant when both have testified that they cannot

opine one way or the other whether BancGroup would have or could have downstreamed funds

to Colonial Bank had the fraud been exposed in early 2008.8

              The FDIC-R also asserts that Walker’s and Malek’s adoption of Prof. James opinions on

the source of strength doctrine is somehow relevant because of certain positions that both of the

FDIC-R’s experts take in their rebuttal reports regarding dividends that were “upstreamed” to

BancGroup over the six year period before the fraud was revealed. The vast majority of those

dividends (over 95%) occurred before year-end 2007 and thus before the downstreaming that

occurred in 2008 and 2009. Specifically, Walker and Malek criticize Lehn because “he failed to

address whether the consideration of downstreamed funds from CBG to Colonial [Bank] would

necessitate consideration of upstreamed funds from Colonial [Bank] to CBG.”                            (FDIC-R’s




7
    See id.
8
  See Walker Deposition, excerpts attached as Exh. 3 to Plaintiff’s Motion, at pp. 143:7-144:8, 133:14-134:3,
131:20-132:3; Malek Deposition, excerpts of which are attached as Exh. 4 to Plaintiff’s Motion, at pp. 294:5-296:11,
320:8-12.


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Response at p. 5). The FDIC-R believes that the dividends from the earlier years are important

to consider because (unlike BancGroup) the FDIC-R is seeking damages starting in 2003.9

        The FDIC-R’s reliance on this aspect of Walker’s and Malek’s rebuttal reports is

mystifying. Although BancGroup submits that the FDIC-R’s discussion of the dividends in its

response is highly misleading and omits critical facts,10 BancGroup’s Motion takes no position

on Walker’s and/or Malek’s opinion that Prof. Lehn should have considered dividends

upstreamed by Colonial Bank prior to year end 2007 in expressing an opinion on Colonial

Bank’s damages. The exercise of comparing the total amount of all dividends made between

2003 and 2008 with the total amount of the downstreamed funds is purely computational. No

rational explanation is given as to why performing this task requires consideration of the source

of strength doctrine, let alone why it would qualify Mr. Walker and Mr. Malek to render an

“expert opinion” on the source of strength doctrine. In short, the upstreaming of dividends from

2003 through year end 2007 is completely irrelevant to the relief that BancGroup seeks in this

Motion.

        In sum, the “probative value” of Walker’s and Malek’s uninformed and unsupported

agreement with Prof. James’ views on the source of strength doctrine is “substantially

outweighed by a danger of … confusing the issues, misleading the jury, undue delay, wasting

time and presenting cumulative evidence.” Such testimony should also be excluded under Rule

403. Fed. R. Evid. 403; see also United States v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004).



9
  As noted, only the small percentage of dividends upstreamed in 2008 ($58 million or less than 5% of the total) is
relevant to BancGroup’s damages, which starts at year end 2007, and those dividends have been addressed by
BancGroup’s damages expert in performing her damages analysis.
10
   For instance, the FDIC-R neglects to mention that a large portion of the dividends upstreamed in 2007 were used
to purchase two banks that added more than $500 million dollars of value to Colonial Bank. See Colonial Bank Call
Report, 12/31/07, attached hereto as Exh. “B,” at line 7, schedule RI-A; BancGroup 2007 10-K, excerpts attached as
Exh. “C,” at p. 19, 77-78.

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                                          CONCLUSION

       For all of the foregoing reasons and for the reasons set forth in the opening brief,

Plaintiffs respectfully request that the Court grant the Motion and enter an Order precluding

Walker and Malek form offering opinions or testimony at trial that BancGroup would be

compelled by the source of strength doctrine to downstream funds to Colonial Bank (or put

under pressure to downstream funds) to Colonial Bank had the fraud been disclosed in early

2008 or that it is speculative to assume that BancGroup not have not have been required to

downstream funds to Colonial Bank had the fraud been revealed.




Dated: December 13, 2016

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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that he has caused a true and correct copy of the

foregoing document to be served on December 13, 2016 by electronic mail upon counsel

for the parties.

        So certified December 13, 2016.

                                                     /s/ Andrew P. Campbell

                                                      Andrew P. Campbell




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